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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


                                                                   MDL No. 16-02677-GAO

In re: DAILY FANTASY SPORTS LIGITATION )


                                 NOTICE OF APPEARANCE


       I, Peter M. Vetere, pursuant to Mass. R. Civ. P. 11(b)(2), hereby enter my appearance as

counsel for Defendant, DraftKings, Inc. in this action.

                                             Respectfully submitted,

                                             /s/ Peter M. Vetere
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Dated: January 11, 2018




                                CERTIFICATE OF SERVICE

       I, Peter M. Vetere, hereby certify that this document was filed on January 11, 2018 through
the ECF system and will be sent electronically to the registered participants as identified in the
Notice of Electronic Filing (NEF).

                                             /s/ Peter M. Vetere
